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Failed Bank Information

 

Information for IndyMac Bank, F.S.B., and IndyMac Federal Bank, F.S.B.,
Pasadena, CA

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Press Release
Acquiring Financial Institution
Question and Answer Sheet
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* Chinese Language Version (350 kb PDF File PDF Help}

 

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Unclaimed Deposits
Possible Glaims Against The Failed Institution

» FAQ re IndyMac "No Value" Determination
Priority of Claims

Dividend Information

. Brokered Deposits (Institutional Brokers}

All.

Agreements
* Purchase and Assumption Agreement (1.1 mb PDF File - PDF Help}
* Master Purchase Agreement by and among FDIC as Conservator ior IndyMac Federal

Bank, FSB and IMB HoldCo LLC, and GneWest Bank Group LLC {5.3 mb PDF File -
PDF Help)

* Loan Sale Agreement Between the FDIC as Receiver for IndyMac Federal Bank, FSB

and OneWest Bank, FSB (3.5 mb PDF File - PDF Help)

* Shared Loss Agreement Between the FDIC as Receiver for IndyMac Federal Bank,

FSB and OneWest Bank. FSB (1.7 mb PDF File - PDF Help)
Bid Summary
IndyMac Barnic, F:S.B., Contact Information
Balance Sheet Summary

 

L Introduction

On March 19, 2009, the Federal Deposit Insurance Corporation (FDIC) completed the sale of IndyMac
Federal Bank, FSB, Pasadena, California, to OneWest Bank, F.S.B., Pasadena, California. OneWest
Bank, FSB is a newly formed federal savings bank organized by IMB HoldCo LLC. All deposits of
IndyMac Federal Bank, FSB have been transferred to OneWest Bank, FSB.

On July 11, 2008, indyMac Bank, F.S.B., Pasadena, CA was closed by the Office of Thrift Supervision

(OTS) and the FDIC was named Conservator. All non-brokered insured deposit accounts and
substantially all of the assets of IndyMac Bank, F.8.B. have been transferred fo IndyMac Federal Bank,
F.S.B. (IndyMac Federal Bank), Pasadena, CA "assuming institution") a newly chartered full-service
FDIC-insured institution. No advance notice is given to the public when a financial institution is closed.

The FDIC has assembled useful information regarding your relationship with this institution. Besides a
checking account, you may have Certificates of Deposit, a car loan, a business checking account, a
commercial loan, a Social Security direct deposit, and other relationships with the Institution. The FDIC
has compiled the following information which should answer many of your questions.

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ll. Press Release
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The FDIC has issued the following press releases (PR-56-2008, PR-42-2009) about the institution's
closure, lf you represent a media outlet and would like information about the closure, in California,
please contact David Barr with the Office of Public Affairs at 202-898-6992, in Washington D.C. please
coniact Andrew Gray at 202-898-7192,

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Ill. Acquiring Financial institution

On March 19, 2009, all deposits of IndyMac Federal Bank, FSB were transferred to OneWest Bank,
FSB, (OneWest Bank) Pasadena, Callfomia.

On July 11, 2008, all non-brokered insured deposit accounts were transferred to IndyMac Federal Bank,
F.S.B. (IndyMac Federal Bank), Pasadena, CA ("assuming institution") a newly chartered full-service
FDIC-insured institution. The OTS appointed the FDIC conservator of IndyMac Federal Bank. All
insured deposit accounts will be available as usual during regular business hours starting July 14, 2008.

Principal and interest on insured accounts, through July 11, 2008, are fully insured by the FDIC, up to
the insurance limit of $100,000. You will receive full payment for your insured account. Certain
entitlements and different types of accounts can be insured for more than the $100,000 limit. IRA funds
are insured separately from other types of accounts, up to a $250,000 limit.

All accounts that exceed the $100,000 insurance limit, and/or all accounts that appear to be related and
exceed this limit, are reviewed by the FDIC to determine their ownership and insurance coverage. If you
think you might have uninsured deposits you should call the FDIC Call Center to arrange for a telephone
Interview with a Claims Agent at 866-806-5919. The Claim Agent may direct you to download and
submit a particular form that will assist in expediting the processing of your claim.

List of Affidavits, Declarations, and Forms available for download

Please return the forms to the FDIC by FAX (facsimile) or mail at the number or address listed far the
failed institution,

If itis determined that you have uninsured funds, the FDIC will generate and mail to you a Receiver
Certificate. This certificate entitles you to share proportionately in any funds recovered through the

_ disposal of the assets of IndyMac Bank, F.S.B. This means that you will eventually recover some of -
your uninsured funds. The FDIC declared a 50% advance dividend fer uninsured deposits.

To find out more about FDIC Deposit Insurance:

* Visit EDIE the FDIC's Electronic Deposit Insurance Estimator
_»* View the FDIC Deposit Insurance Coverage Video

Checks that were drawn on IndyMac Bank, F.S.B. will be honored up to your available balance or the
insured amount. You may withdraw funds from any transferred account without an early withdrawal
penalty until you enter Into a new deposit agreement with IndyMac Federal Bank. A hold may be in
place on deposits accounts due to delinquent ioans where the depositor is the borrower or guarantor,
Additionally, any account pledged as collateral for a loan will be held.

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On March 19, 2009 there was no break in services.

As of July 14, 2008 you may continue to use the services to which you previously had access, such as,
online service, safe deposit boxes, night deposit boxes, wire services, etc.

Your checks will be processed as usual. All outstanding checks will be paid against your available
insured balance(s) as if no change had occurred. IndyMac Federal Bank will contact you scon
regarding any changes in the terms of your account. if you have a problem with a merchant refusing to
accept your check, please contact IndyMac Federal Bank, Customer Service Department, at 800-998-
2900. An account representative will clear up any confusion about the validity of your checks,

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All interest accrued through Friday, will be paid at your same rate, IndyMac Federal Bank wilt be
reviewing rates and will provide further information soon. You will be notified of any changes.

Your automatic direct deposit(s) and/or automatic withdrawal(s) will be transferred automatically to
IndyMac Federal Bank. If you have any questions or special requests, you may contact a representative
of your assuming institution at 800-998-2900.

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VI. Loan Customers

If you had a joan with IndyMac Bank, F.S.B., you should continue to make your payments as usual. The
terms of your [oan will not change under the terms of the loan contract because they are contractually
agreed to your promissory note with the failed institution. Checks should be made payable as usual and
sent to the same address until further notice,

For all questions regarding new loans and the lending policies of IndyMac Federal Bank, please contact
800-998-2900 or visit the IndyMac Federal Bank website at www.IndyMac.carm.

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VIL. Unclaimed Deposits

Please note that any deposits that have not been claimed within 18 months of the failure of indymac
Bank was sent to the FDIC by One West Bank. If the FDIC is unable to locate the deposit customer, the
unclaimed funds will eventually be escheated to the state or according to Federal Law (12 ULS.C., 1822
(e)).
FDIC Unclaimed Deposits
1-877-875-4821 Option #2
Hours of Operation - Pacific Standard Time
Monday through Friday, 8:00 a.m. — 5:00 p.m.
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Vill. Possible Claims Against the Failed Institution 9

Determination of Insufficient Assets To Satisfy Claims Against Financial Institution in
Receivership

SUMMARY: The FDIC, by its Board of Directors, has determined that insufficient assets exist In the
receivership of IndyMac Bank, F.S.B., Pasadena, California and the receivership of IndyMac Federal
Bank, FSB, Pasadena, California to make any distribution to general unsecured claims, and therefore
such claims will recover nothing and have no value,

DATES: The Board made its determination on November 12, 2009.

FOR FURTHER INFORMATION CONTACT: If you have questions regarding this notice, contact
Thomas P. Bolt, Counsel, Legal Division, (703) 562-2046 or tbolt@fdic.gov; Shane Kiernan, Senior
Attorney, Legal Division, (703) 562-2632 or skiernan@fdlic.gov,

Federal Deposit Insurance Corporation
3501 N. Fairfax Drive
Arlington, VA 22226

SUPPLEMENTARY INFORMATION: On July 11, 2008, IndyMac Bank, F.S.B., Pasadena, California
(“IndyMac Bank") (FIN # 10007) was closed by the Office of Thrift Supervision and the Federal Deposit
Insurance Corporation ("FDIC") was appointed as its receiver. In complying with its statutory duty to
resolve the institution in the method that is least costly to the deposit insurance fund (see 12 U.S.C.

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1823(c){4)), the FDIC effected a pass-through receivership. Accordingly, the FDIC organized IndyMac
Federal Bank, FSB, Pasadena, California (“IndyMac Federal"), a new federal savings bank for which
the FDIC was appointed as conservator. IndyMac Bank's assets were transferred to IndyMac Federal
under an agreement whereby the amount (if any) realized from the final resolution of IndyMac Federal
after payment in full of IndyMac Federal's obligations was to be paid to the IndyMac Bank recelvership.
On March 19, 2009, indyMac Federal was placed In receivership and substantially ail of its assets were
sold. The amount realized from the resolution of IndyMac Federal is insufficient to pay all of its liabilities,
and therefore there will be no amount to pay to the IndyMac Bank receivership.

Section 14(d)(11)(A) of the FDI Act, 12 U.S.C. 1821(d)(11)(A), sets forth the order of priority for
distribution of amounts realized fram the liquidation or other resolution of an insured depository
institution to pay claims. Under the statutory order of priority, administrative expenses and deposit
liabilities must be paid in full before any distribution may be made to general unsecured creditors or any
lower priority claims. The FDIC has determined that the assets of IndyMac Bank are insufficient to make
any distribution on general unsecured claims and therefore, such claims, asserted or unasserted, will
recover nothing and have no value. The FDIC has also determined that the assets of IndyMac Federal
are insufficient to make any distribution on general unsecured claims and therefore, such claims,
asserted or unasserted, will recover nathing and have no value,

Federal Register / Voi. 74, No. 221 / Wednesday, November 18, 2009 / Notices 59544

FAQ re IndyMac "No Value" Determination
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IX. Priority of Claims
In accordance with Federal law, allowed claims will be paid, after administrative expenses, in the
following order of priority:

1. Depositors
2. General Unsecured Creditors
3. Subordinated Debt
4. Stockholders
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X. Dividend information

When IndyMac was placed into Conservatorship in July of 2008, the FDIC calcutated that the ultimate
resolution of IndyMac would result in a recovery of approximatety 50% of the uninsured deposits of
IndyMac. Based upon that estimate, an advance dividend in that amount was paid to the uninsured
depositors at that time. The announced sale of IndyMac to IMB Management Holdings Is consistent with
the original estimate and no additional dividend will be patd as a consequence of this sale.

While no dividends for the uninsured depositors are anticipated at this time, the FDIC will continue to

periodically re-assess the financial condition of the receivership to determine if there is additional cash
for dividend distributions.

Dividend History on IndyMac Bank, F.S.B.

Dividend Information on Failed Financial Institutions

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Xl. Brokered Deposits

The FDIC offers a reference guide to deposit brokers acting as agents for their investor clientele. This
site outlines the FDIC's policies and procedures that must be followed by deposit brokers when filing for
pass-through insurance coverage on custodial accounts deposited in a failed FDIC Insured Institution.

Deposit Broker Processing Guide

hitp://www.fdic.gov/bank/individual/failed/IndyMac.html 5/21/2010
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Key demographic information as of May 20, 2010

IndyMac Bank, F.S.B.
888 East Walnut Street

 

 

 

 

Ll. Pasadena,CA 91104
FDIC Certificate #: 29730 Date Established: 3/23/1936
Bank Charter Class: Savings Association Date of Deposit insurance: 3/23/1936

    
  

Primary Federal Requlator: Office of Thrift Supervision
Primary Inlernet Web Address: Web site not available

This 15 an inactive institution.

More:Demagraphic Information: |:

 
 

Inactive as of: July 14, 2008

Closing history: Failed, went into recelvership, and then became
Acquiring institution: IndyMac Federal Bank, F.S.B, - (58912)

Closing Information: httovAwww. fdic.qov/bank/indivicdual/falted/IndyMac, html

Information Gateway;

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Assets and Liabilities ‘June 30, 2008 _

 

      

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More Information

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FDIC Office of Inspector General

 

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Key demographic information as of May 20, 2010

 

IndyMac Federal Bank, F.S.B.
888 E Walnut St
Pasadena,CA 91106

 

 

 

FDIC Certificate #: Bg12 Date Established: 7/11/2008
Bank Charter Glass: Savings Association Date of Deposit insurance: 7/11/2008
Primary Federal Requilator: Office of Thrifi Supervision fe Di

Primary Internet Web Address: Web site not available

  

This is an inactive institution.

Inactive as of: March 19, 2009
Closing history: Merged with Financial Assistance Into
Acquiring institution: OneWest Bank, FSB - (58978)

information Gateway;

ID Report Selections: Report Date: 7
Assets and Liabllities December 31, 2008

      

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#3 FDIC/OTS Summary of Daposits @ Consumer Assistance from Primary Federal Requlator

| Press @ for description

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Key demographic Information as of May 20, 2010

OneWest Bank, FSB
886 E Walnut St

 

 

 

 

Pasadena,CA 91101
FOIC Certificate #: 58978 Date Established: 4/19/2009
Bank Charter Class: Savings Association Date of Deposit Insurance: 3/19/2009

Primary Federal Requlator: Office of Thrift Supervision
Primary internet Web Address: http://Awww.owb.conv80/

information Gateway;

 

ID Report Selections: 7 a Report Date:

Assets and Liabilities March 31,2010 _

  

 

More Information

 

 

 

 

Bank Holding Gompany Ownership and Affiliates nat
€ Current List of Offices available
€ Compare to Peer Group(s) @ Regional Economic Conditions (FDIC RECON}
PRICG Vall’ rs Report i
FFIEC Cal/TER Report 4/31/2070 Latest 4) Organization Hierarchy from the Federal Reserve System
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